Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 1 of 16




                  Exhibit A
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 2 of 16
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 3 of 16
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 4 of 16
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 5 of 16
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 6 of 16




                        Exhibit A
       Case 1:24-cr-00542-AS         Document 260-1         Filed 04/17/25      Page 7 of 16




                             ALEXANDER SASHA BARDEY M.D.
                             FIFTH AVENUE FORENSICS
                      303 FIFTH AVENUE, SUITE 403, NEW YORK, NY 10016
                      TELEPHONE: (212) 532-2322      FAX: (212) 532-2219

                                           E-MAIL: DRBARDEY@FIFTHAVENUEFORENSICS.COM
                                                 WEBSITE: WWW.FIFTHAVENUEFORENSICS.COM
                                                           NEW YORK STATE LICENSE: 179638


EDUCATION

1989 - 1992            Resident in General Psychiatry, NYU Medical Center, NY
1988 - 1989            Intern in General Psychiatry, NYU Medical Center, NY
1988                   M.D., SUNY at Stony Brook Medical School, NY
1983                   B.A., Harvard University, MA

LICENSURE AND CERTIFICATION

1996, 2015             Added Qualifications in Forensic Psychiatry, The American Board of
                       Psychiatry and Neurology
1994, 2005, 2015       Diplomate in Psychiatry, The American Board of Psychiatry and Neurology
1989                   New York State Medical License

PROFESSIONAL APPOINTMENTS

Fifth Avenue Forensics

      City of Albany. Provide psychological services, evaluations, and reports of municipal
employees, including police officer candidates. (2020-2021)

       County of Rockland, Department of General Services. Provide pre-employment
psychological screenings, fitness for duty examinations, and civil service Article 72 psychological
exams. (2018-present)

        Center For Justice Innovation. Provide consultative psychiatric services to the New York
State Unified Court System and the Center for Justice Innovation, a project of the Fund for the City
of New York. Perform psychiatric evaluations, risk assessments and submit expert reports to the
Court in order to determine eligibility for participation in the specialized court project and support
applications for housing, treatment and case management services, for the following Alternative to
Incarceration Programs:

   •    Manhattan Felony Alternative to Incarceration (ATI) Court. A project of the Fund for the
        City of New York. These services are supported by the NYS Office of Court Administration
        (OCA) and the Manhattan District Attorney’s Office (DANY). (2019-present)

   •    Brooklyn Mental Health Court. A project of the Fund for the City of New York. These
       Case 1:24-cr-00542-AS        Document 260-1           Filed 04/17/25    Page 8 of 16
                                     Alexander Sasha Bardey, M.D.


        services are supported by NYS Office of Mental Health (OMH). (2014-present)

   •    Brooklyn Alternative to Incarceration (ATI) Court. Center for Court Innovation, a project
        of the Fund for the City of New York. These services are supported by New York City
        Council. (2020-present)

County of Nassau, Department of Mental Health, Chemical Dependency, and
Developmental Disabilities Services.

   •    Director of Forensic Psychiatry (2017-present)

   •    Nassau County Mental Health Court. Participate in the development and implementation of
        the Nassau County Mental Health Court. Provide clinical leadership, perform psychiatric
        evaluations and risk assessments, and submit expert forensic-psychiatric reports. Co-lead
        weekly clinical-judicial meetings regarding ongoing court operations and member
        participation. (2007 – present)

   •    Assisted Outpatient Treatment Program. Provide clinical leadership in Assisted Outpatient
        Treatment Program (Kendra’s Law). Perform psychiatric assessments for eligibility and
        provide expert testimony in County Supreme Court. Oversee the implementation of the law
        and participate in programmatic development. Lead and supervise clinical review team.
        (2002 – present)

Private Forensic Practice

   •    Qualified as an expert in Psychiatry and Forensic Psychiatry in Criminal, Civil, Family, and
        Supreme Courts in New York, Kings, Queens, Richmond, Bronx, Westchester, Nassau and
        Suffolk Counties, as well as in Federal Courts in the Eastern and Southern Districts of New
        York and Criminal and Civil Courts in New Jersey, Massachusetts and Connecticut. Consult
        with attorneys from the United States Attorney's office, the New York District Attorney's
        office, The Federal Defender Program, the Capital Defender Program and The Legal Aid
        Society in Criminal and Civil matters. (1993 - present)

Private Clinical Practice

  •     Provide psychiatric evaluations and treatment, specializing in pharmacological management
        of affective and psychotic disorders. (1992 – present)

Director of Psychiatry, Rikers Island, Prison Health Services, Inc.

  •     Administer and clinically oversee for the NYC Health and Hospitals Corporation -
        Correctional Health Services’ contracted private vendor. Ensure the provision of clinical
        services within the guidelines of regulatory and funding agencies including the NYC
        Department of Public Health, NYS Office of Mental Health, NYS Office of Alcoholism and
        Substance Abuse Services, NYC Commission on Correction, and NYS Board of
        Corrections. Provide direct clinical and administrative oversight for 200 clinical full-time
        staff. (2000 – 2002)

                                               Page 2
      Case 1:24-cr-00542-AS        Document 260-1           Filed 04/17/25   Page 9 of 16
                                    Alexander Sasha Bardey, M.D.




Director, Assisted Outpatient Treatment Program (Kendra's Law), Bellevue Hospital, NY

  •    Administer a hospital based forensic initiative. Develop program implementation, policy and
       procedures. Design and maintain a NYC grant funded budget. Provide data coordination
       and reporting of utilization and statistical measures to NYS Office of Mental Health and
       NYC Department of Mental Health and Mental Retardations Services. Supervise clinical and
       support staff. (1999- 2000)

Associate Director, Division of Forensic Psychiatry, Bellevue Hospital, NY

  •    Deputy direct the division of Forensic Psychiatry, including provision of clinical and
       evaluation services. Manage and supervise psychiatric and support staff. Oversee JCAHO
       and DMH survey preparations, and report UR/QA initiatives. Provide clinical supervision of
       forensic psychiatric fellows, psychiatric residents, and medical students. (1995 – 1999)

ACADEMIC APPOINTMENTS

2018 - Present        Clinical Assistant Professor in Psychiatry, NYU Langone Medical Center
2003 - Present        Adjunct Assistant Professor in Psychiatry and Behavioral Sciences, New
                      York Medical College
1992 - 2018           Clinical Instructor in Psychiatry, NYU School of Medicine
1989 - 1992           Assistant Clinical Instructor in Psychiatry, NYU School of Medicine

ADDITIONAL PROFESSIONAL POSITIONS

1993 - 1995           Attending Psychiatrist, Division of Forensic Psychiatry, Bellevue Hospital
1992 - 1993           Attending Physician, Division of Consultation-Liaison Psychiatry, Bellevue
                      Hospital
1992 - 1993           Attending Physician, St. Francis Residence
1990 - 1992           Attending Physician, Psychiatric Admitting Office, Bellevue Hospital

COMMITTEE ASSIGNMENTS

2023 - present        State of New York, Unified Court System, NYS Judicial Task Force on
                      Mental Illness
1996 - 1997           JCAHO Task Force, Bellevue Hospital
1996 - 1997           Search Committee for Medical Director in Psychiatry, Bellevue Hospital
1993 - 1994           Advisory Council to the Executive Director, Bellevue Hospital
1992 - 1994           Faculty Academic Affairs Committee, Bellevue Hospital
1989 - 1991           Admissions Committee, Department of Psychiatry, NYU School of Medicine

TEACHING EXPERIENCE

2023 - Present        Supervising Forensic Psychiatrist to NYU Grossman School of Medicine’s
                      Forensic Psychiatry Fellowship



                                              Page 3
     Case 1:24-cr-00542-AS           Document 260-1          Filed 04/17/25     Page 10 of 16
                                      Alexander Sasha Bardey, M.D.


2004 - 2010            Course Director, Forensic Psychiatry, St. Vincent’s Catholic Medical Center,
                       NY
1999 - 2000            Supervising Psychiatrist, NYU Forensic Psychiatry Residency, Department of
                       Psychiatry, NYU School of Medicine
1999 - 2000            Supervising Attending Psychiatrist, Elective in Telepsychiatric Consultation,
                       NYU School of Medicine
1995 - 1999            Director, Medical Student Education, Division of Forensic Psychiatry,
                       Bellevue Hospital
1995 - 1999            Lecturer in the Forensic Psychiatry Course to Psychiatry Residents, NYU
                       Department of Psychiatry
1994 - 1999            Lecturer in Suicide Prevention and Management Seminar for the Department
                       of Corrections
1994 - 1999            Lecturer in Psychopharmacology Course in the Psychology Department,
                       Bellevue Hospital
1993 - 2002            Supervising Attending Psychiatrist, Tisch Hospital
1993 - 2000            Supervising Attending Psychiatrist, Forensic Psychiatry Fellowship, NYU
                       Department of Psychiatry
1992 - 2000            Psychopharmacology Supervisor, Psychopharmacology Clinic, Bellevue
                       Hospital
1992 - 1994            Psychotherapy Supervisor, Mental Hygiene Clinic, Bellevue Hospital
1991 - 1993            Supervising Attending Psychiatrist, Psychiatric Emergency Room, Bellevue
                       Hospital
1991 - 1992            Instructor in a didactic course on psychopathology, NYU School of
                       Medicine
1990 - 1991            Instructor in a didactic course on human behavior, NYU School of Medicine

MEMBERSHIPS IN PROFESSIONAL SOCIETIES

1995 - Present         American Board of Forensic Examiners
1990 - Present         American Medical Association
1992 - 1995            American Group Psychotherapy Association
2017 - Present         International Association of Chiefs of Police
2017 - Present         Association for the Treatment of Sexual Abusers

PUBLICATIONS AND EDITORSHIPS

Bardey A.S. and Berger R.H. (1997). Confidentiality and Privilege. Primary Psychiatry, 4 (8), 19 - 26.

Bardey A.S. and Berger R.H. (1997). Informed Consent. Primary Psychiatry, 4 (9), 9 - 21.

Bardey A.S. and Berger R.H. (1997). Malpractice. Primary Psychiatry, 4 (10), 14 - 21.

Bardey A.S. and Berger R.H. (1997). Dangerousness. Primary Psychiatry, 4 (11), 14 - 21.

Bardey A.S. and Berger R.H. (1997). Telemedicine and Telepsychiatry. Primary Psychiatry, 4 (12), 14
- 16.

Bardey A.S. and Berger R.H. (1998). Malingering. Primary Psychiatry, 5 (2), 24-36.

                                                Page 4
     Case 1:24-cr-00542-AS          Document 260-1          Filed 04/17/25     Page 11 of 16
                                     Alexander Sasha Bardey, M.D.




PRESENTATIONS

Bardey, A.S., Rosenberg, M. (2024, 2023, 2022) Criminal Responsibility and the Application of
Psychological Testing. Presented at the Kirby Forensic Psychiatric Center. New York, NY.

Bardey, A.S. and Rosenberg, M. (2024) Presentation to the Nassau County Elder Abuse
Multidisciplinary Team, New York, NY.

Bardey, A.S., Lapinta, A., Prof. Kramer, L.S., (2024, 2023, 2022, 2021, 2020, 2019). Selected Topics
in Trial Advocacy, Examination of Expert Witness, Touro Law School, East Islip, NY.

Bardey A.S. Bardey and Rose, D, (2024) Presentation on Assisted Outpatient Treatment to the
Legislative Committee Meeting of the 2024 Legislative Session, 446th Session of General Assembly,
Maryland Correctional Administrators Association. Online.

Bardey, A.S., Barber Rioja, V., Kendrick, J., DeAvila, K., (2022) Mental Health In the Prison System,
Touro Law School, East Islip, NY.

Bardey, A.S., Bailey, P, Vassalo, R, (2020). Forensic Evaluations and Reports, Continuing Legal
Education presentation, CUCS Academy for Justice-Informed Practice. Online.

Bardey, A.S., (2020). Twenty Years of AOT in New York: What Have We Learned? New York State
Office of Mental Health state-wide grand rounds, Albany, NY.

Bardey, A.S., Carmenaty, R., Carle, D., Gorinsky, J., and Butchin, J. (2018). Nassau County Bar
Association, Mental Health Subcommittee Continuing Legal Education presentation: Kendra’s Law:
The Case for Coercive Care. Bar Association, Mineola, NY.

Bardey, A.S. (2018). New State Office of Mental Health, Long Island Field Office, Psychiatric In-
service: Psychopharmacology Update. Pilgrim Psychiatric Center, Brentwood, NY.

Bardey, A.S., Klein, F.B., and La Pinta, A.M. (2016). New York State Bar Association, Criminal
Justice Section, Spring Meeting: Trials Without “Who Done It” But Why. Montauk Yacht Club,
Montauk, NY.

Bardey, A.S. and Dolan, J.R. (2015). The 6th Annual Conference on Co-Occurring Disorders:
Forensic Mental Health and Chemical Dependency Services for Criminal and Juvenile Justice,
Keynote Presentation: We Thought We Knew – No Let’s Get It Right. Hofstra University,
Uniondale, NY.

Bardey, A.S. (2015). Psychiatric Disorders, Co-Occurring Disorders and Medications. Crisis
Intervention Training, Hempstead Police Department, Hempstead, NY.

Bardey, A.S. (2015) Infanticide: The Psychology of an Unnatural Act. Arizona Homicide
Investigators Association, annual meeting, Las Vegas, NV.



                                               Page 5
     Case 1:24-cr-00542-AS         Document 260-1           Filed 04/17/25   Page 12 of 16
                                     Alexander Sasha Bardey, M.D.


Bardey, A.S., Ser, J., Esq., Gombiner, M., (2015) Sex Offender Evaluations: What They Are and
What They Mean. The Federal Defenders of New York, Inc., CLE Program, New York, NY.

Bardey, A.S., Hon. McCarthy, W.E., Prof. Cucolo, H., Leo, D. (2015) Sexual Offenders and Post
Incarceration MHL Article 10 Civil Commitment and SORA Proceedings. 2015 Joint Seminar of the
First, Second, Third & Fourth Judicial Departments of the Appellate Division of the Supreme Court
of the State of New York, New York, NY.

Bardey, A.S., Termini, K., Prentky, R. (2014) Psycho-Sexual Evaluation Training. Federal Defenders
of New York, Inc., Southern District of New York, New York, NY.

Bardey, A.S. (2014). Emotionally Disturbed Persons Response Team Training Course. Morrelly
Homeland Security Center, Bethpage, NY.

Bardey, A.S. (2013). Psychotropic Medications and Co-Occurring Disorders. Mental Health
Association of Nassau County, Hempstead, NY.

Bardey, A.S. (2012). Psychiatric Disorders, Co-Occurring Disorders and Medications. Crisis
Intervention Training, Nassau and Suffolk County Parole/Probation, Hempstead, NY.

Bardey, A.S. (2011). Psychiatric Disorders, Co-Occurring Disorders and Medications. Crisis
Intervention Training, Hempstead Police Department, Hempstead, NY.

Bardey, A.S. (2010). Psychotropic Medications and Interactions with Street Drugs. Lecture to FEGS
Health and Human Services System, Hempstead, NY.

Bardey, A.S. et al. (2010). Nassau County Mental Health Court – Psychiatric Perspective. Continuing
Legal Education presentation to the Nassau County Bar Association, Garden City, NY.

Bardey, A.S., Ruthen, H. (2008). Mentally Disabled People in Crisis. Presentation to the Nassau
County Police Department, Garden City, NY.

Bardey, A.S., Lynch, C. (2008) Continuing Legal Education presentation to the Kings County
District Attorney’s Office: Extreme Emotional Disturbance. Brooklyn, NY.

Bardey, A.S. (2008). The Case for Coercive Care – Kendra’s Law in Nassau County. Webinar to the
Office of Court Administration.

Bardey, A.S., Nolan, J. (2008 and 2006). Assessing for Serious Mental illness – Overview.
Presentation to Nassau County Department of Social Services, Hempstead, NY.

Bardey, A.S. (2008). The case for Coercive Care – Kendra’s Law in Nassau County. Grand Rounds
presentation at North Shore University Hospital at Manhasset, NY.

Bardey, A.S. (2007). Working with the Difficult to Engage Client. Presentation to the Mental Health
Association of Nassau County, NY.



                                               Page 6
     Case 1:24-cr-00542-AS          Document 260-1          Filed 04/17/25     Page 13 of 16
                                     Alexander Sasha Bardey, M.D.


Bardey, A.S. (2007) Stop treating the Incarcerated Mentally Ill. Presentation to the World
Association for Psychiatric Rehabilitation, NY.

Bardey, A.S. (2006) Mental Illness and the Criminal Justice System – An Unfortunate Alliance.
Continuing Legal Education presentation to the Suffolk Bar Association, East Islip, NY.

Bardey, A.S. (2006). Working with the Challenging Client. Presentation to the Mental Health
Association of Nassau County, NY.

Bardey, A.S. (2005). Assisted Outpatient Treatment: Five-Year Update and Experience. Grand
Rounds presentation at North Shore University Hospital at Glen Cove, NY.

Bardey, A.S., Zdanowicz, M. & Barr, H. (2004). Coercion and Treatment, Medical, Legal, and
Ethical Issues. American Psychiatric Association Annual Meeting.

Bardey, A.S. (2003). Forensic Mental Health. Mental Health Judicial Conference. NY.

Bardey, A.S. (2003). Mad or Bad – the Mentally Ill in the Criminal Justice System. Presentation to
the Legal Aid Society of New York.

Helfand, S., Bardey, A.S. & Rose, D.S. (2002). Disaster Counseling in an Urban Jail Setting. National
Commission on Correctional Health Care - Clinical Updates in Correctional Health Care.

Bardey, A.S., Rose, D.S. & Collins, G. (2001). Mandated Outpatient Treatment in New York City: A
Forensic Perspective. American Psychiatric Association Annual Meeting.

Rose, D., Bardey, A.S., Trujillo, M., & Abad, A.A. (2000). Implementing Outpatient Commitment in
New York City: A Forensic Perspective. World Psychiatric Association Thematic Conference &
Introductory Course on Legal and Forensic Psychiatry.

Bardey, A.S. (2000). The Implementation of Kendra's Law in New York. Harlem Hospital, Grand
Rounds.

Bardey, A.S. (2000). The Implementation of Kendra's Law in New York. Gouverneur Hospital,
Grand Rounds.

Bardey, A.S. (1997). The Use of Telemedicine in Psychiatry, Middletown Hospital, Grand Rounds.




                                               Page 7
Case 1:24-cr-00542-AS   Document 260-1   Filed 04/17/25   Page 14 of 16




                        Exhibit B
Case 1:24-cr-00542-AS            Document 260-1                 Filed 04/17/25             Page 15 of 16
                             ALEXANDER SASHA BARDEY M.D.
                                 FORENSIC AND GENERAL PSYCHIATRY




             EXPERT TESTIMONY AND DEPOSITIONS
                          2019-2024

                             Testimony in criminal cases

Date            Case                        Jurisdiction              Legal Issue                  Retained by
1/19     NY v. Feliz-Volquez                   Bronx                    Criminal                     Defense
                                                                      Responsibility
2/19       NJ v. Lomando                     Bergen, NJ            Diminished Capacity              Defense
3/19       NY v. Chisolm                       Kings                 Competency to                 Prosecution
                                                                     waive Miranda
5/19       NY v. Harrison                       Suffolk                 Criminal                     Defense
                                                                      Responsibility
6/19       NY v. Leonard                        Suffolk                Mens Rea                      Defense
9/19        NY v. Tall                          Suffolk                  SORA                        Defense
1/20       NY v. Stetson-                       Queens                  Criminal                     Defense
             Shanahan                                                 Responsibility
6/20       USA v. L. Pina                       SDNY                 Compassionate                   Defense
                                                                         Release
8/21     NY v. Martunovich                       Kings                  Criminal                     Defense
                                                                      Responsibility
3/23       NY v. Acosta                         Bronx                PTSD/memory                     Defense
3/23       NY v. Franco-                        Nassau                    EED                        Defense
             Martinez
5/23       NY v. Raqwah                         Albany                     Grand Jury                Defense
             Johnson
10/23     NY v. JC Jimenez                      Bronx                      Intent                    Defense
11/23        NY v. An                           Queens                    Criminal                   Defense
                                                                        Responsibility
5/24       NY v. Munera                       New York                      EED                     Defense
8/24        NY v Dawes                         Kings                        EED                    Prosecution
11/24       NY v. Shatell                      Queens                      DVSJA                    Defense
             Spurgeon
11/24      NY v. D. Penny                     New York                   Victim SOM                  Defense


                                 Testimony in civil cases

Date            Case                        Jurisdiction                 Legal Issue               Retained by
4/19       Wellner v. NYC                    New York                   Personal Injury              Plaintiff
5/19        In Re. Gandy                      Suffolk                       330.20                 Respondent
7/19       In Re. Watson                       Kings                        330.20                 Prosecution
                            303 FIFTH AVENUE, SUITE 403, NEW YORK, NY 10016
         Telephone: (212) 532-2322 Fax: (212) 532-2219 E-Mail: DrBardey@Fifthavenueforensics.com
Case 1:24-cr-00542-AS     Document 260-1           Filed 04/17/25       Page 16 of 16
                          Alexander Sasha Bardey, M.D.


9/19    In re. Bueno-Edwards         Albany              Fitness to work        Respondent
1/20       In Re. Newcomb            Orange                  330.20             Respondent
7/21       In Re. Maniscalco        New York             Fitness to work        Respondent
8/21         In Re. Marzolf          Monroe                  330.20              Plaintiff
8/21        In Re. McKelvey          Suffolk                 330.20             Respondent
10/21      In Re. V. Rosado         New York                Disability           Claimant
12/21   In Re. Barkdale-Powell       Orange                  330.20             Defendant
3/22    Youwanes v Steinbrech       New York               Malpractice           Plaintiff
7/22       In Re. W. Goldin         New York                Disability           Plaintiff
10/22        Rapp v. Fowler          SDNY                     CVA               Defendant
                (Spacey)
6/23    NYS vs. Bernard, Jose        Kings                 Article 10            Petitioner
2/24       In re. J. Ferrufino      New York                330.20               Petitioner
4/24           In Re. An             Queens                 330.20              Defendant
8/24    Garden City UFSD v. J        Nassau                 Fitness             Respondent
                  Leake
11/24    In Re. Smith, Derrick       Queens                  330.20             Prosecution


                                 Depositions

Date            Case             Jurisdiction             Legal Issue          Retained by
5/19     Rene v. Brunswick         Suffolk               Personal Injury        Defendant
              Hospital
5/21     Styller v. Hewlett-      US District            Personal Injury          Plaintiff
               Packard           Court, District
                                    of MA
11/21   Hill v. Addabbo and         EDNY              Sexual Harassment         Defendant
               Kesselly
1/22     Rapp v. K. Fowler          SDNY                  Sexual Abuse          Defendant
             aka Spacey
10/22     Doe c. Stephen            EDNY                  Sexual Abuse          Defendant
                Cuchel
8/23         Czernyk v.              Bronx                Sexual abuse          Defendant
            Bongiovanni
4/24      J. Doe v. Bemer         Connecticut            Sexual Abuse           Defendant
6/24    N. Moore v. Planned         SDNY                     Racial              Plaintiff
             Parenthood                                  Discrimination
            Federation of
               America




                                   Page 2 of 2
